Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 1 of 50 PageID #: 967
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 2 of 50 PageID #: 968




                                                                           0002
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 3 of 50 PageID #: 969




                                                                           0003
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 4 of 50 PageID #: 970




                                                                           0004
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 5 of 50 PageID #: 971




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Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 6 of 50 PageID #: 972




                                                                           0006
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 7 of 50 PageID #: 973




                                                                           0007
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 8 of 50 PageID #: 974




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Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 9 of 50 PageID #: 975




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Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 10 of 50 PageID #: 976




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Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 11 of 50 PageID #: 977




                                                                            0011
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 12 of 50 PageID #: 978




                                                                            0012
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 13 of 50 PageID #: 979




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Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 14 of 50 PageID #: 980




                                                                            0014
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 15 of 50 PageID #: 981




                                                                            0015
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 16 of 50 PageID #: 982




                                                                            0016
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 17 of 50 PageID #: 983




                                                                            0017
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 18 of 50 PageID #: 984




                                                                            0018
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 19 of 50 PageID #: 985




                                                                            0019
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 20 of 50 PageID #: 986




                                                                            0020
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 21 of 50 PageID #: 987




                                                                            0021
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 22 of 50 PageID #: 988




                                                                            0022
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 23 of 50 PageID #: 989




                                                                            0023
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 24 of 50 PageID #: 990




                                                                            0024
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 25 of 50 PageID #: 991




                                                                            0025
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 26 of 50 PageID #: 992




                                                                            0026
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 27 of 50 PageID #: 993




                                                                            0027
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 28 of 50 PageID #: 994




                                                                            0028
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 29 of 50 PageID #: 995




                                                                            0029
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 30 of 50 PageID #: 996




                                                                            0030
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 31 of 50 PageID #: 997




                                                                            0031
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 32 of 50 PageID #: 998




                                                                            0032
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 33 of 50 PageID #: 999




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Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 34 of 50 PageID #: 1000




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Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 35 of 50 PageID #: 1001




                                                                            0035
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 36 of 50 PageID #: 1002




                                                                            0036
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 37 of 50 PageID #: 1003




                                                                            0037
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 38 of 50 PageID #: 1004




                                                                            0038
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 39 of 50 PageID #: 1005




                                                                            0039
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 40 of 50 PageID #: 1006




                                                                            0040
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 41 of 50 PageID #: 1007




                                                                            0041
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 42 of 50 PageID #: 1008




                                                                            0042
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 43 of 50 PageID #: 1009




                                                                            0043
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 44 of 50 PageID #: 1010




                                                                            0044
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 45 of 50 PageID #: 1011




                                                                            0045
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 46 of 50 PageID #: 1012




                                                                            0046
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 47 of 50 PageID #: 1013




                                                                            0047
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 48 of 50 PageID #: 1014




                                                                            0048
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 49 of 50 PageID #: 1015




                                                                            0049
Case 1:19-cv-00958-TWP-DLP Document 79-4 Filed 08/27/19 Page 50 of 50 PageID #: 1016




                                                                            0050
